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DC.
IN THE UNITED STATES DISTRICT COURT

FOR THE wESTERN DISTRICT oF TENNESSEE ll f yh _
wESTERN DIVJ:SION 95 JU*‘ l 4 m 3' z9

 

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HEATHER P. HOGROBROOKS, ‘~*`=-'-D- \“FF "' ='*W"F“Q

Plaintiff,

No. 03-2981 Ma/P

ADELE A. ANDERSON, MARLENE
ESKIND MOSES, RICKY E. WILKINS,
JIMMIE CARPENTER MILLER, ROBERT
E. COOPER, JR., W. SCOTT
MCGINNESS, and THE TENNESSEE
BOARD OF LAW EXAMINERS,

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Defendants.

 

ORDER DENYING MOTION FOR RECONSIDERATION

 

On February 7, 2005, this court entered an order dismissing
Plaintiff's action against the Defendants. Before the court is
Plaintiff's “Motion for Reconsideration of Order Granting
Defendants’ Motion to Dismiss as It Ignores Legally Significant
Faots and the Authority Relied Upon Does Not Support Dismissal of
the Plaintiff's Complaint,” filed February 14, 2005. The
Defendants responded on March l, 2005. For the following reasons,
the motion is DENIED.

Although the Federal Rules of Civil Procedure do not expressly
provide for a motion for reconsideration, the court will consider
the motion as one to alter or amend the prior judgment. “When a
party files a motion to reconsider a final order or judgment within
ten days of entry, [the court] will generally consider the motion

to be brought pursuant to Rule 59(e).” Inge v. Rock Financial

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§g§p;, 281 F.Bd 613, 617 (6th Cir. 2002); see also Smith v. Hudson,
600 F.2d 60, 62 (6th Cir. 1979)(holding that “a motion which asks
a court to vacate and reconsider, or even to reverse its prior
holding, may properly be treated under Rule 59(e) as a motion to
alter or amend a judgment,” even when the motion predates the
formal entry of judgment).

Rule 59(e) affords a plaintiff relief from a judgment under
limited circumstances:

First, the movant may demonstrate that the motion is
necessary to correct manifest errors of law or fact upon
which the judgment is based. Second, the motion may he
granted so that the moving party' may present newly
discovered or'previously'unavailable evidence. Third, the
motion will be granted if necessary to prevent manifest
injustice m. Fourth, a Rule 59(e) motion may be justified
by an intervening change in controlling law.

The Rule 59(e) motion may not be used to relitigate old
matters, or to raise arguments, or present evidence that
could have been raised prior to the entry of judgment.
Also, amendment of the judgment will be denied if it
would serve no useful purpose.
11 Charles Alan Wright et al., Federal Practice and Procedure
§ 2810.1 (2d ed. 1995) (footnotes omitted); see GenCorp, Inc. v.
Am. Int’l Underwriters, 178 F.3d 804, 834 (6th Cir. 1999) (noting
that Rule 59(e) motions may be granted if there is a clear error of
law, newly discovered evidence, an intervening change in
controlling law, or to prevent manifest injustice). The court
should use its “informed discretion” in deciding whether to grant
or deny a Rule 59(e) motion. See Huff v. Metro. Life Ins. Co., 675

F.Zd ll9, 122 (Gth Cir. 1982).

The court dismissed Plaintiff's action based on the Rooker-

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Feldman doctrine, finding that the complaint essentially requested
an appeal of the state court's decision denying Plaintiff's
application for a law license.1 Plaintiff brings to the court's
attention no evidence or law that would require revisiting its
earlier decision.2 As cited in Plaintiff’s reconsideration motion,
the applicable distinction for Rooker-Feldman purposes is whether
an action constitutes “a general challenge to the constitutionality
of the state law applied in the state action” or “a challenge to
the law’s application in a particular state case.” Executive Arts
Studio, Inc. v. Citv of Grand Rapids, 391 F.Bd 783, 793 (6th Cir.
2004)(internal quotations omitted). The court cannot identify from
the complaint any allegation that could be construed as a general
challenge to the constitutionality of state law applied in
Plaintiff’s bar admission. proceeding. In_ fact, Plaintiff now
expressly states that “[t]he court's attributing to the plaintiff
a claim that it was the Board’s ‘practice' to require a certificate

of good standing is erroneous and quite contrary to the Plaintiff’s

 

l The Tennessee Supreme Court Rules state that “[t]he Board of Law
Examiners for the State of Tennessee is created as part of the judicial branch
of government by the Supreme Court of Tennessee pursuant to its inherent
authority to regulate courts .... Admission to practice law is controlled by
the Supreme Court, which acts on the basis of the certificate of the State
Board of Law Examiners.” Tenn. S. Ct. R. 7. The Rules provide the opportunity
to appeal a board decision to the Tennessee Supreme Court. lgé, Art, XIV.
Thus, the Board's determination constitutes a judicial proceeding. gee
District of Columbia Court of Appeals v. Feldman, 460 U.S. 462, 482 (1983);
Stanfield v. Horn, 704 F. Supp. 1487 (M.D. Tenn. 1989).

2 The court noted that, if Plaintiff's admission application were still
pending, abstention under Younger v, Harris, 401 U.S. 37 (1971) would be the
appropriate course of action. For purposes of this motion, the court accepts
Plaintiff's contention that there is no ongoing state proceeding.

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claims on that issue.” (Mot. for Recon. at 2.) Thus, the court
concludes that Plaintiff challenges only the application of the law
in her particular case.

Since the order to dismiss was entered, the United States
Supreme Court has expressly held that the Rooker-Feldman doctrine
applies where “the losing party in state court file[s] suit in
federal court after the state proceedings [have] ended, complaining

of an injury caused by the state-court judgment and seeking review

 

and rejection of that judgment.” Exxon Mobil Corp. v. Saudi Basic
Industries Corp., - U.S. ~, 125 S. Ct. 1517, 1526 (March 30, 2005).

Because Plaintiff's action fits squarely within that description,
dismissal was proper.

For the foregoing reasons, Plaintiff's motion is DENIED.

so ORDERED this "“Kday af June 2005.

M…

 

SAMUEL H. MAYS, JR
UNITED STATES DISTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 56 in
case 2:03-CV-02981 Was distributed by faX, mail, or direct printing on
June 15, 2005 to the parties listed.

 

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Honorable Samuel Mays
US DISTRICT COURT

